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                             EXHIBIT 10




                             EXHIBIT 10
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 1                DECLARATION OF WASHOE COUNTY LIBRARY SYSTEM
                               DIRECTOR JEFF SCOTT
 2
             IN SUPPORT OF DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
 3
     STATE OF NEVADA
 4
     COUNTY OF WASHOE
 5
               I, Jeff Scott do hereby declare, under penalty of perjury, the following:
 6
           1. I am the Washoe County Library System Director based in Reno, Nevada. I am
 7
     one of the named defendants in Ribar v. Washoe County, NV, District of Nevada case
 8
     number 3:24-cv-0052-ART-CSD. I am being represented by the Washoe County District
 9
     Attorney’s Office.
10
           2. On August 9, 2024, as the proper second level for appeal, I reviewed and upheld the
11
     one-year Washoe County Library system suspension issued on June 14, 2024, for Plaintiff
12
     Drew Ribar (“Mr. Ribar”).
13
           3. Mr. Ribar owns and operates a public YouTube channel called Auditing Reno 911.
14
     On this YouTube channel, Mr. Ribar posts edited videos, or videos with his commentary
15
     wherein I have been personally named, featured, and harassed.
16
           4. Mr. Ribar’s YouTube channel and videos regarding me appear to unjustly depict me
17
     as a bully and violent person. Namely, Mr. Ribar continues to assert throughout his videos
18
     that I assaulted him. These videos include titles include, but are not limited to:
19
                   a. “Assault and Trespass the camera man at Washoe County Library Drag
20
                       Queen Story Hour Inclusiveness” 1 (I am shown numerous times interacting
21
                       with Mr. Ribar in the video, with the caption on the video entitled “Library
22
                       Director Jeff Scott Assault and Trespass Man with camera”);
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     1
         https://www.youtube.com/watch?v=QqqriwEc3y8



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 1              b. “Washoe County Library Director Jeff Scott decides who is entitled to speak

 2                   and who shall be BLOCKED!” 2 (the video title implies that I regularly

 3                   prohibit library visitors from speaking, which is false, shows my interactions

 4                   with Mr. Ribar and includes my salary);

 5              c. “Pompous Library Director Chastises Board of Trustees” 3 (video negatively

 6                   depicts my interactions with the Washoe County Library Board of Trustees);

 7              d. Library Gets Sued for Discrimination” 4 (video discusses has a misleading

 8                   title, but discusses the instant case, and video description invites viewers to

 9                   contact the Board of Trustees if they believe I should be fired);

10              e. “Accused Battery in the Library: Jeff Scott Exposed!” 5

11              f.   “Sheriff, Will Jeff Scott be Investigated?” 6 (implying that I engaged in a

12                   criminal act warranting law enforcement investigation); and

13              g. Several other videos containing my photograph as the thumbnail and

14                   depicting my staff and library branches in an unwarranted oppressive

15                   manner.

16       5. Mr. Ribar’s YouTube videos have destructively impacted my relationships with the

17   community as Washoe County Library Director, affecting me not only personally and

18   professionally, but also detrimentally affecting my relationship with the Washoe County

19   Library Board of Trustees and its members.

20       6. Mr. Ribar’s incessant YouTube video and social media harassment campaign has

21   led to a more hostile Washoe County Library Board of Trustees and has created a negative

22   work environment for me. Any person with internet access can locate and simply view the

23   misleading video titles which would reasonably form an opinion that I am violent, a

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       https://www.youtube.com/watch?v=4kUaxwtxKRg
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     3
       https://www.youtube.com/watch?v=x_9cPu3VHCs
     4
       https://www.youtube.com/watch?v=y0P6b_wBUdc
     5
       https://www.youtube.com/watch?v=xSjPf2xP7so



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 1   criminal, and/or discriminative. The videos themselves are edited to show only Mr. Ribar’s

 2   perspective and his commentary on what occurred, furthering the misleading nature of the

 3   videos.

 4         7. I am allowing Mr. Ribar to depose me only because the law mandates it. I would

 5   not otherwise choose to interact with Mr. Ribar, and thereby provide him with potential

 6   video content for further harassment. I am concerned that Mr. Ribar will use discovery

 7   materials, including videos of depositions, in an abusive manner by posting clips to

 8   YouTube and inviting further embarrassment, harassment, and/or oppression on me and

 9   my staff who are subject to depositions.

10             I declare under penalty of perjury that the foregoing is true and correct.

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                                                           JEFF SCOTT
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         https://www.youtube.com/watch?v=ImPacyQDicY



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